                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                           )
                                                     )
                        Plaintiff,                   )
                                                     )
 v.                                                  )             No. 3:06-CR-147
                                                     )             (Varlan / Guyton)
 JEFFERSON L. BIVINGS,                               )
                                                     )
                        Defendant.                   )

                                               ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This matter is before the Court upon pretrial motions filed by Defendant

 Jefferson L. Bivings. The issues raised by Mr. Bivings relate to the introduction of evidence at trial.

        The Court observes that the United States has filed a plea agreement under seal as to

 Jefferson Bivings [Doc. 189] and concludes that the defendant’s pretrial motions are now moot.

        Accordingly, it is ORDERED:

                        1) Motion to Suppress Defendant’s Statements
                        [Doc. 78] is DENIED as moot; and

                        2) Motion in Limine [Doc. 155] is DENIED as
                        moot.

        IT IS SO ORDERED.

                                                     ENTER:

                                                          s/ H. Bruce Guyton
                                                     United States Magistrate Judge




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